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 5   Attorney for Defendant
     Minh Tham
 6
                        IN THE UNITED STATES DISTRICT COURT
 7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA                  )   Case No. 2:09-cr-0222 TLN
                                               )
10
               Plaintiff                       )
                                               )   ORDER EXONERATING BOND
11
                      v                        )   AND RECONVEYING PROPERTY
12                                             )   AND RETURNING CASH
     MINH THAM,                                )   DEPOSIT.
13                                             )
               Defendant.                      )
14                                             )

15
               The above-captioned matter came before the Court on
16
     October 2, 2014, for judgment and sentence. Sentence was imposed
17
     and on November 28, 2014, defendant self-surrendered to the Bureau
18

19
     of Prisons, Englewood SCP. http://www.bop.gov.

20       Sentence having been imposed, the bond posted in the above-

21   entitled action is hereby exonerated, to wit,

22             1. The Sum of $25,000 posted by Linda Thang, Livermore

23   California.   August 18, 2009, Doc. 75, District Court Receipt
24   #CAE200019302;
25




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 1                2.    Deed of Trust from Suong Phat Truong and Hong P.
 2   Truong, #20090818; 7198 Rotella Dr., Sacramento, CA 95824. August
 3
     27, 2009, Doc 77.
 4
         Dated: December 9, 2014
 5

 6
         IT IS ORDERED THAT:
 7
         The bond posted is by defendant Minh Tham in this case is
 8
     exonerated. The cash deposit of $25,000 submitted by Linda Thang
 9
     is to be returned to her and the Deed of Trust received from Song
10
     Phat Truong and Hong P. Trong Nguyen as collateral on August 27,
11

12   2009, Doc 77, be reconveyed.

13
     Dated:     December 11, 2014
14

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16

17                                       Troy L. Nunley
                                         United States District Judge
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